       Case 1:16-cv-01447-DNH-CFH Document 62 Filed 12/16/18 Page 1 of 2


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                                         December 16, 2018


Hon. David N. Hurd, U.S. District Judge                                      Via ECF
Alexander Pirnie Federal Bldg. and U.S. Courthouse
10 Broad Street
Utica, NY 13501

RE: 1:16-cv-01447-DNH-CFH, Matthew Avitabile v. Lt. Col. George Beach in his Official
Capacity as Superintendent of the New York State Police

Dear Judge Hurd:
        We write to the Court to inform it of the United States District Court for the Eastern District
of New York’s ruling in Maloney v. Singas, No. 03-CV-786 (PKC)(AYS), (E.D.N.Y. Dec. 14, 2018)
[Docket #215] (attached)), that nunchaku are protected by the Second Amendment and New York
State’s laws which ban the ownership of nunchaku are unconstitutional.

       In an opinion by Judge Pamela Chen, “[t]he Court … reject[ed] Defendant’s argument that
the nunchaku ban should be upheld because ‘the dangerous potential of nunchucks is almost
universally recognized.’” Id at * 19. The Court went on to observe Justice Alito’s concurrence in
Caetano (136 S. Ct at 1028-1033) that stun guns are protected by the Second Amendment.
“Inexplicably, Defendant states that ‘[o]bviously, spring-guns and carrying/using mace or stun guns
are not constitutionally protected activities’ because they are dangerous. (Dkt. 213, at 2.) This
statement is plainly incorrect, at least as to stun guns and mace.” Id at *19 fn. 23.

       The Court then found that “a bearable arm is entitled to Second Amendment protection where
the government fails to show that the weapon’s typical use is not a lawful one”. Id at * 20. The Court
ultimately found that “[b]ecause the blanket ban imposed by Section 265.01(1) as applied to
nunchaku easily fails constitutional muster under intermediate scrutiny, the Court need not decide
whether intermediate or strict scrutiny should apply.” Id at *22.

        Thus, this supports Mr. Avitabile’s position that the Second Amendment protects implements
for self-defense other than firearms. Similarly, New York State’s ban on the ownership of electric
arms is unconstitutional because they are bearable arms typically owned for self-defense. And New
York’s ban on electric arms is unconstitutional under any level of heightened scrutiny.

       We appreciate the Court’s attention to this matter and stand ready to provide any additional
information requested by the Court.

                                               Yours very truly,
      Case 1:16-cv-01447-DNH-CFH Document 62 Filed 12/16/18 Page 2 of 2




cc:   All counsel of record w/
      attachment (ECF)
